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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS




UNITED STATES OF AMERICA,                            )
                                                     )
                        Plaintiff,                   )
                                                     )                CIVIL ACTION
v.                                                   )
                                                     )                No. 03-20123-09-CM
                                                     )                No. 05-3414
WENDELL MARTIN,                                      )
                                                     )
                        Defendant.                   )
                                                     )

                                     MEMORANDUM AND ORDER

        On March 4, 2004, defendant and eight co-defendants were charged in a twenty-nine count

superseding indictment with multiple drug trafficking violations. Defendant was specifically named in four of

the twenty-nine counts. Pursuant to a plea agreement entered into on November 8, 2004, defendant

pleaded guilty to Count 15 – distribution of cocaine base within 1,000 feet of a school, in violation of 21

U.S.C. § 841(a)(1). The court sentenced defendant to seventy months imprisonment on January 31, 2005.




        This case is before the court on defendant’s Petition for Relief, which defendant filed on October

26, 2005. Defendant asks the court for a three-level reduction of his sentence. Defendant claims that “it

was agreed” that he would receive a three-level reduction if he self-surrendered and that he, in fact, did so

on March 14, 2005.

        Defendant has characterized his motion as a “Petition for Relief.” When a motion for a sentence

reduction is not a direct appeal or a 28 U.S.C. § 2255 collateral attack, 18 U.S.C. § 3582(c) governs
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whether modification of the sentence is appropriate. United States v. Clayton, 92 Fed. Appx. 703, 705

(10th Cir. 2004). The court can modify a sentence pursuant to § 3582(c) in only three circumstances: (1)

on motion of the Director of the Bureau of Prisons, if special circumstances are present; (2) if statute or

Fed. R. Crim. P. 35 permits; or (3) if the Sentencing Commission lowers the sentencing range. Id. The

court finds that defendant’s Petition for Relief does not fall within any of the three circumstances.

Therefore, a reduction of his sentence under § 3582(c) is not warranted. But even if the court reviewed

defendant’s motion as a 28 U.S.C. § 2255 motion to vacate, set aside, or correct a sentence (as the Clerk

of the Court has characterized the motion), the result would be the same because defendant waived his right

to appeal or collaterally attack his sentence when he signed a plea agreement with the government.

I.         Plea Agreement

           In response to defendant’s motion, the government moved to enforce the plea agreement (Doc.

480). The government asks the court to enforce defendant’s agreement that he would not appeal or

collaterally attack any matter in connection with his sentence. If the court finds that the plea agreement is

enforceable, then it will summarily dismiss the appeal. United States v. Anderson, 374 F.3d 955, 957

(10th Cir. 2004).

           In determining the enforceability of a plea agreement, the court applies the test set forth in United

States v. Andis, 333 F.3d 886, 890 (8th Cir. 2003), and adopted by the Tenth Circuit in United States v.

Hahn, 359 F.3d 1315, 1325 (10th Cir. 2004), which considers the following: (1) whether the disputed

appeal or collateral attack is within the scope of the waiver; (2) whether the defendant’s waiver was

knowing and voluntary; and (3) whether enforcing the defendant’s waiver would amount to a miscarriage of

justice.

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A.      Scope of Waiver

        To determine whether the disputed issue is within the scope of the waiver, the court first considers

the plain language of the plea agreement. Anderson, 374 F.3d at 957. The plea agreement, in its relevant

part, provides:

        Defendant knowingly and voluntarily waives any right to appeal or collaterally attack any
        matter in connection with this prosecution, conviction, and sentence. The defendant is
        aware that Title 18, U.S.C. § 3742 affords a defendant the right to appeal the conviction
        and sentence imposed. By entering into this agreement, the defendant knowingly waives
        any right to appeal a sentence imposed which is within the guideline range determined
        appropriate by the court. The defendant also waives any right to challenge a sentence or
        manner in which it was determined in any collateral attack, including, but not limited to, a
        motion brought under Title 28, U.S.C. § 2255 [except as limited by United States v.
        Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)]. In other words, the defendant
        waives the right to appeal the sentence imposed in this case except to the extent, if any, the
        court departs upwards from the applicable sentencing guideline range determined by the
        court.

        The court construes this language “‘according to contract principles and what the defendant

reasonably understood when he entered his plea.’” United States v. Arevalo-Jimenez, 372 F.3d 1204,

1206 (10th Cir. 2004) (citation omitted). The court strictly construes the waiver and resolves any

ambiguities against the government. Hahn, 359 F.3d at 1343.

        Here, defendant asks the court for a three-level reduction in his sentence because “it was agreed”

that defendant would receive a three level reduction in his sentence if he self-surrendered. The court finds

that defendant’s request falls within the scope of the plea agreement, where he agreed not to collaterally

challenge his sentence or the manner in which it was determined.

B.      Knowing and Voluntary

        In determining whether a waiver of collateral attack rights is knowing and voluntary, the court looks

at (1) whether the express language of the plea agreement states that the defendant entered the agreement


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knowingly and voluntarily; and (2) whether there was an “adequate Fed. R. Crim P. 11(b)(2) colloquy.”

Id. at 1325.

        With regard to the first factor, the first sentence of the waiver provision in the plea agreement

provides, “Defendant knowingly and voluntarily waives any right to appeal or collaterally attack any matter

in connection with this prosecution, conviction, and sentence.” With regard to the second factor, Fed. R.

Crim. P. 11(b)(2) states, “before accepting a plea of guilty . . . the court must address the defendant

personally and determine that the plea is voluntary and did not result from force, threats, or promises (other

than promises in a plea agreement).” At the hearing for defendant’s change of plea, the court asked

defendant about the charges against him and his plea agreement with the United States, which included the

following exchange:

        The Court:      Has anyone made any different promises to you to induce you to plea
                        guilty?
        Defendant:      No, sir.
        The Court:      Now the terms of the plea agreement are not binding on the Court and I
                        could reject the recommendations of the plea agreement without permitting
                        you to withdraw your plea of guilty and impose a sentence that might be
                        more severe than you anticipate under the plea agreement. Do you
                        understand that?
        Defendant:      Yes, sir.
        The Court:      Has anyone attempted in anyway to force you to plead guilty?
        Defendant:      No, sir.
        The Court:      Are you pleading guilty today of your own free will and because you are
                        guilty?
        Defendant:      Yes, sir.

        The factual circumstances surrounding the plea in this case serve as compelling evidence that

defendant voluntarily and knowingly entered a plea. See Hahn, 359 F.3d at 1325 (explaining that the court

looks to an informed plea colloquy for evidence that defendant knowingly and voluntarily entered into

agreement).


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C.      Miscarriage of Justice

        An appeal waiver results in a miscarriage of justice, as may preclude its enforcement, only
        (1) where the district court relied on an impermissible factor such as race, (2) where
        ineffective assistance of counsel in connection with the negotiation of the waiver renders the
        waiver invalid, (3) where the sentence exceeds the statutory maximum, or (4) where the
        waiver is otherwise unlawful; to satisfy fourth factor, error must seriously affect the fairness,
        integrity or public reputation of judicial proceedings.

Anderson, 374 F.3d at 959 (citing Hahn, 359 F.3d at 1327). The defendant has the burden of showing

that an appellate waiver results in a miscarriage of justice. Id.

        Defendant has not made any arguments with respect to these factors, and the court finds no

indication in the record that any factor is present in this case. Accordingly, the court finds that enforcing the

plea agreement would not result in a miscarriage of justice.

II.     Conclusion

        The files and record before the court conclusively show that defendant is not entitled to relief under

18 U.S.C. § 3582(c) or 28 U.S.C. § 2255. Accordingly, no evidentiary hearing is required. See United

States v. Marr, 856 F.2d 1471, 1472 (10th Cir. 1988) (holding that no hearing is required where factual

matters raised by a § 2255 petition may be resolved on the record).

        IT IS THEREFORE ORDERED that defendant’s Petition for Relief (Doc. 437) is denied.

        IT IS FURTHER ORDERED that the government’s Response to Defendant’s Petition for Relief

and Motion for Enforcement of Plea Agreement (Doc. 480) is granted.

        Dated this 28th day of July 2006, at Kansas City, Kansas.


                                                             s/ Carlos Murguia
                                                             CARLOS MURGUIA
                                                             United States District Judge



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